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AO 91 (Rev. 11/11) Criminal Complaint


                                        UNITED STATES DISTRICT COURT
                                                              for the
                                                                                                                    FILED
                                                    Eastern District of California                                  Jun 25, 2021
                                                                                                                CLERK, U.S. DISTRICT COURT
                                                                                                              EASTERN DISTRICT OF CALIFORNIA
                   United States of America                        )
                              v.                                   )
                                                                   )      Case No.           2:21-mj-0104 CKD
                                                                   )
                   Elan Efraim MOSHE                               )


                            Defendant(s)
                                                                   )
                                                                   )                   SEALED
                                              CRIMINAL COMPLAINT
          I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                  March 31, 2020              in the county of                 Placer                     in the
        Eastern          District of        California        , the defendant(s) violated:

             Code Section                                                    Offense Description
21 U.S.C. Section 841(a)(1)                Possession with Intent to Distribute LSD




          This criminal complaint is based on these facts:

          (see attachment)




            ☒ Continued on the attached sheet.


                                                                                 /s/
                                                                                             Complainant’s signature

                                                                                       Brian Nehring, DEA Special Agent
                                                                                              Printed name and title

Sworn to before me and signed telephonically.


Date:       June 25, 2021 at 3:32 pm
                                                                                                Judge’s signature

City and state:         Sacramento, California                                    Carolyn K. Delaney, U.S. Magistrate Judge
                                                                                              Printed name and title
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  AFFIDAVIT IN SUPPORT OF SEARCH WARRANT, ARREST WARRANT,
                   AND CRIMINAL COMPLAINT

I, Special Agent Brian Nehring of the DEA, being duly sworn, depose and state
as follows:
                              Background and Expertise

1. I am a Special Agent of the Drug Enforcement Administration (DEA), San Francisco
   Field Division, and have been so employed since 1991. I have had numerous
   assignments since beginning with DEA, including being assigned to the Clandestine
   Laboratory Enforcement Team from 1997 to 1999, the Oakland Resident Office
   between 1999 and 2002, and the Mobile Enforcement Team (MET) between 2002
   and 2004. I have been assigned to the Sacramento Division Office since September
   of 2004.

2. I have received specialized training in narcotic investigation matters including, but
   not limited to, drug interdiction, drug detection, money laundering techniques and
   schemes, drug identification, and asset identification and removal, from the Drug
   Enforcement Administration (DEA). In addition, I graduated from the DEA Basic
   Agents Academy at the FBI Academy at Quantico, Virginia. In total, I have received
   in excess of 500 hours of comprehensive formalized classroom instruction in those
   areas outlined above.

3. I have assisted in the execution of more than four hundred (400) warrants to search
   particular places or premises for controlled substances and/or related paraphernalia,
   indicia and other evidence of violations of federal drug narcotics statutes. As a result,
   I have encountered and become familiar with various tools, methods, trends, and
   paraphernalia and related articles utilized by traffickers in their efforts to import,
   conceal, manufacture and distribute controlled substances. Central to all trafficking
   efforts, regardless of the drug, is the traffickers’ effort to make a profit from those
   dealings or transactions, either for the purchase of additional substances or material
   gain. I have been actively involved as case agent in excess of two hundred (200)
   investigations and have talked with confidential informants involved in the trafficking
   of narcotics, and this has formed the basis of my opinions.

4. I have been qualified as and have testified as an expert witness in both federal and
   state court in the Northern and Eastern Districts of California and in counties
   including Alameda, Contra Costa, Solano, Sacramento and others. These areas of
   qualification have included possession for sale, possession with intent to distribute,
   manufacturing of a controlled substance and cultivation.




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  Scope of Requested Criminal Complaint, Arrest Warrant, and Search Warrant

5. This Affidavit is submitted in support of a Criminal Complaint and Arrest Warrant
   charging Elan Efraim MOSHE with possession with intent to distribute Lysergic
   Acid Diethylamide (LSD), a Schedule I Controlled Substance, in violation of 21
   U.S.C. § 841(a)(1).

6. This Affidavit is also submitted in support of a search warrant to search the following
   locations:

           A. The person of Elan Efraim MOSHE;

           B. A green IPhone 11 Pro Max with call number (510)388-7026;

           C. The white 2019 ACURA MDX, CALIFORNIA LICENSE #8HSH975;

           D. Nevada County Parcels corresponding to APN#034-030-022 (13.9 acres),
              APN#034-030-026 (15.5 acres) and APN#034-030-027 (15.4 acres),
              including all structures on those properties.

7. I believe that MOSHE is a large-scale LSD, MDMA and Marijuana trafficker
   currently operating within the Eastern District of California of California and
   elsewhere. Based upon the ongoing federal investigation detailed below, I believe
   that MOSHE has been distributing large amounts of LSD, MDMA and Marijuana in
   the Eastern District of California and elsewhere since at least late 2018 to the present
   and that he has supplied these substances to individuals as detailed below. This
   Affidavit therefore requests authority to search the locations described in Attachment
   A in order to locate and seize the items described in Attachment B as evidence and
   instrumentalities of violations of 21 U.S.C. § 841(a)(1) (distribution or and
   possession with intent to distribute LSD, MDMA, and Marijuana), and 21 U.S.C. §§
   846 and 841(a)(1) (conspiracy to distribute and possess with intent to distribute LSD,
   MDMA and Marijuana).

                             I.       PROBABLE CAUSE

Identification of Elan MOSHE as source of supply for large amounts of LSD seized in
   the Eastern and Northern Districts of California in 2018 and 2019

8. Over the last several years, I conducted an investigation of the LSD and MDMA
   trafficking activities of a Drug Trafficking Organization (DTO) based in the Eastern
   District of California. During the course of this investigation, and while acting in an
   undercover capacity, I purchased multiple 1000-count quantities of LSD and multiple
   ounce quantities of MDMA from multiple members of this DTO. In 2018, I arrested
   a particular member of this group and seized multiple 1000-count quantities of LSD
   (in excess of 10,000 dosage units) as well as large amounts of other drugs. This
   particular individual, hereinafter referred to Source of Information #1 (SOI#1),

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   identified the source of supply for the seized LSD. SOI#1 related that an individual
   located in the Northern District of California had supplied this person with gram
   quantities of crystalline LSD, for which SOI#1 had paid approximately $10,000.00
   each, and which SOI#1 had converted into 10,000 dosage units per gram using a
   carrier medium.

9. I subsequently served search warrants in the Northern District of California in 2019 at
   the locations controlled by the person SOI#1 had identified as the source for the
   crystalline LSD. At these locations, I located between 50,000-100,000 dosage units
   of LSD to include multiple gram quantities of crystalline LSD and multiple 10,000
   count quantities of carrier medium LSD. I arrested the identified source of supply
   and this person agreed to identify his/her source for the LSD that had been seized.
   This person, hereinafter referred to as SOI#2, related that he/she had been supplied
   with the LSD by an individual named Elan, subsequently identified as Elan MOSHE,
   who lived in Oakland, California. SOI#2 related that MOSHE had provided him/her
   with multiple grams of crystalline LSD (each gram equating to a minimum of 10,000
   dosage units of LSD for distribution in various carrier mediums, e.g. liquid, blotter
   paper, gel tabs, micro-dots) for slightly less than $10,000 per gram.

10. SOI#2 described MOSHE and pointed out MOSHE’s phone number saved in the
    memory of SOI#2’s telephone as “ELAN.” This telephone number (510-561-4382)
    was found to be a pre-paid no-name AT&T cellular telephone. Upon examining the
    tolls from this number provided by AT&T, the highest-frequently contacted number
    was a cellular telephone subscribed to Victoria AIVZACHIVIL at 1540 Jackson
    Street, #307, Oakland, California. Inquiries with multiple databases, to include
    Thomas and Reuters Clear, revealed that Elan MOSHE (DOB: **/**/1977) had
    regularly self-provided a resident address of 1540 Jackson Street, #307, Oakland,
    California in recent years, including as a resident address to the California
    Department of Motor Vehicles (DMV) most recently.

11. I have reviewed MOSHE’s NCIC criminal history and note that it includes: an arrest
    in 1996 in Santa Clara County, California for Transportation/Sales of a Controlled
    Substance resulting in a felony conviction on 03-06-1996 for Possession of a
    Controlled Substance and an arrest on 12-10-1999 in Santa Clara County, California
    for Possession of a Controlled Substance for Sale, Possession of Marijuana for Sale,
    Possession of a Controlled Substance, Evading a Police Officer and Being Under the
    Influence of a Controlled Substance, resulting in convictions in 2000 for Evading a
    Police Officer and possessing a Controlled Substance. MOSHE also has multiple
    subsequent DUI, Driving on a Suspended License and similar misdemeanor arrests
    and convictions.

   MOSHE linked to site of large LSD Seizure in Santa Cruz in May 2019

12. I learned during the course of this ongoing investigation that following the above
    events, on May 7, 2019, Matthew HUTCHINGS was arrested at the time of the
    execution of a state search warrant at his residence in Soquel, California (Santa Cruz

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   County) and that law enforcement officers seized a large amount of LSD and
   MDMA, approximately 33 pounds of Psilocybin Mushrooms, and multiple firearms.

13. I contacted Detective Robert Locke-Paddon of the University of California Santa
    Cruz Police Department (UCSD PD) who was the case agent with regards to the
    investigation of HUTCHINGS. Detective Locke-Paddon related to me that he had
    learned that HUTCHINGS was distributing large amounts of various drugs to
    students at the University and that as a result of the search warrant, he had seized
    several 1000-count quantities of gelatin tab LSD (believed to be between 5,000 and
    10,000 dosage units of this type of carrier medium) of various colors, including
    green, from HUTCHINGS residence and storage locker.

14. Detective Locke-Paddon provided me with photographs of the results from the search
    warrant including this LSD, and I noted that it was unique in size, shape, and color. I
    examined these photographs and noted that while searching HUTCHING’s residence,
    specifically in a room in which LSD and Psilocybin Mushrooms were located,
    Officers located and photographed a Wells Fargo Visa Platinum Debit in the name of
    Elan MOSHE. HUTCHINGS was charged federally in June 2019 in the Northern
    District of California with Possession of LSD with Intent to Distribute in violation of
    21 U.S.C. § 841(a)(1), entered a guilty plea. I was informed that HUTCHINGS was
    sentenced to 10 years prison in April of 2021 in the Northern District of California.

         Moshe arrested in Placer County in March 2020 in possession of over 1,300
         Dosage Units of Suspected LSD while in a vehicle registered to him

15. I learned that Elan MOSHE was arrested on state charges in Placer County
    (California) on March 31, 2020 for Possession of LSD, MDMA and Psilocybin
    Mushrooms for Sale and Transportation/Sales of Controlled Substances. I obtained
    Rocklin Police Department Report of Investigation regarding MOSHE’s arrest, which
    I reviewed, and I spoke to Placer Special Investigations Unit (SIU) Task Force
    Detective Josh Shemenski who prepared this report and conducted the below
    described investigation. I learned the following.

16. On March 31, 2020, Placer County Deputy Marian Baker was dispatched on a
    medical aid call in an unincorporated area of Placer County, specifically the
    intersection of Florence Lane and Florence Court north of Auburn, California. This
    medical aid was for a male subject down in the roadway. Deputy Baker arrived on
    scene to find Cal Fire firefighters and an American Medical Response (AMR)
    ambulance crew tending to a male subject later identified as Elan MOSHE.
    Paramedics and law enforcement asked what his name was, and MOSHE was not
    responsive. MOSHE was transported to Sutter Roseville Medical Center (SRMC) for
    medical treatment, and his vehicle was left on scene at the intersection. The vehicle
    was a black 2019 Honda Ridgeway, California license plate #77828S2. California
    Department of Motor Vehicles (DMV) records indicate this vehicle is registered to
    Victoria AIVAZACHVILI and Elan MOSHE at 1540 Jackson Street, #307, Oakland,
    California.

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17. Deputy Baker observed a black and white backpack that was laying against the
    vehicle. Inside of this backpack Deputy Baker located a wallet containing $646
    dollars cash, MOSHE’s driver’s license, one ounce (29 grams) of suspected MDMA,
    approximately 1302 dosage units total of suspected gel tab LSD, and 148 gross grams
    of suspected Psilocybin Mushrooms. Deputy Baker then contacted Detective
    Shemenski who responded to the scene and used a hand-held mass spectrometer
    (TruNarc Laser field tester) that indicated that the substance in the bag tested
    presumptive positive for MDMA. Detective Shemenski took possession of these
    items. He also took possession of an Apple I-Phone 11 Pro, serial
    #FK1ZH09HN70M, cellular telephone #510-388-7026, which was inside the center
    console of the vehicle.

18. Detective Shemenski contacted MOSHE later that same day at the SRMC where he
    was being treated. MOSHE spoke with the Detective and related that he lived in
    Oakland and was self-employed. MOSHE related that he had traveled the previous
    day (03-30-2020) to the residence of a business acquaintance in Auburn at which time
    he had “partied” with the people at this residence and had ingested alcohol, ketamine
    and cocaine and had passed out. MOSHE stated one of the people at the residence
    had wanted him to leave early and that he did not remember how, but he had ended
    up in the passenger seat of his truck and this person had driven him off the property
    and left him in his vehicle at the intersection of Florence Lane and Florence Court
    where he was found later that morning by a concerned citizen who had called the
    paramedics. MOSHE said his cellphone and keys should be in his vehicle and that he
    was unclear as to whether he had been assaulted or not.

19. MOSHE told Detective Shemenski that he had about one ounce of MDMA, some
    Psilocybin and Ketamine, and about 2,000 dosage units of LSD. MOSHE related that
    he obtained high quality MDMA from his connection for $1000 per ounce. MOSHE
    identified the Apple I-Phone 11 Pro as his telephone and stated that his MOSHE
    stated that the cellphone number was 510-388-7026.

20. Detective Shemenski asked MOSHE for permission to search his phone. MOSHE
    agreed and unlocked the phone. Det. Shemesnki subsequently reviewed and
    photographed text messages from the phone related to narcotics trafficking. Shortly
    afterwards, MOSHE purported to revoke his consent, and Det. Shemenski locked the
    telephone per MOSHE’s request.

21. I examined the photographs of the approximately one-thousand three hundred and
    two (1,302) dosage units of LSD seized from MOSHE on 03-31-2020. I noted that it
    appeared similar if not identical to the unique, opaque green LSD gel tabs seized from
    HUTCHINGS in Soquel, California in 2019 during the search warrant wherein
    MOSHE’s Wells Fargo Visa Platinum Debit Card was also located. I also noted that a
    similar Wells Fargo Debit Card was seized from MOSHE’s wallet on 03-31-2020 by
    Det. Shemenski.



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22. In March 2021, I subsequently took possession of the suspected LSD seized from
    MOSHE for submission to the DEA Western Regional Laboratory for analysis. In
    addition to the thousand-plus dosage units of green gelatin tab LSD described above,
    I was provided with a vial containing liquid and several pieces of apparent blotter
    paper also located in the same backpack which had contained the gelatin LSD. I
    submitted all these items to the DEA Western Regional Laboratory for analysis. In
    May of 2021 I was informed that the vial contained 2.272 grams of liquid LSD
    (2.2ml) and the blotter paper was also analyzed and being LSD. The gelatin tabs have
    yet to be analyzed.

         Moshe is continuing to use the cellphone with call number 510-388-7026 to
         contact individuals with known drug histories, including individuals identified
         as interstate LSD traffickers; Drug related texts located on his seized phone

23. I obtained subscriber and toll information from Verizon for 510-388-7026 and
    determined that this account was activated in the name of Elan MOSHE with an
    address of 1540 Jackson Street, Oakland, California on 02-18-2019. I learned that a
    new device was activated on this account with this same phone number on 04-15-
    2020 (two weeks after the above seizure of the original phone on 03-31-2020) and
    that this number was transferred to a green I-Phone 11 Pro Max, IMSI
    #311480547981608, IMEI #352841110691319 and Device
    ID#89148000005614853695. I learned that this device and phone number were still
    active as of late February 2021.

24. I contacted the Placer County Pre-Trial Supervision Unit responsible for pre-trial
    contact with MOSHE. I learned that MOSHE was still providing a contact number of
    510-388-7026. I also learned that while MOSHE still provided an address of 1540
    Jackson Street, #307, Oakland, California, he also claimed to be concurrently residing
    at a house he was renovating in Placerville, California and that he traveled
    extensively. I noted that MOSHE had also previously provided multiple resident
    addresses in El Dorado County, California.

25. I examined the tolls for MOSHE’s telephone for the period between January 18, 2021
    and February 17, 2021. I specifically focused on the top five highest-frequently
    contacted numbers by this telephone for this period. I noted that just as with the tolls
    for the telephone number for MOSHE previously provided by SOI#2 in 2019, the
    number for Victoria AIVAZACHVILI was among the highest-frequently contacted
    numbers (fifth).

26. I subsequently examined the tolls for MOSHE’s telephone and learned that some of
    the highest-frequently contacted numbers were subscribed in false subscriber names
    and addresses, although they had been provided as contact numbers for individuals
    with significant criminal drug histories, including persons identified in prior
    investigations as trafficking in LSD. This led me to believe that MOSHE was still
    using cellular telephone 510-388-7026 to continue to conduct his LSD trafficking
    activities.

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27. On March 23, 2021, the Honorable Magistrate Judge Kendall J. Newman authorized a
    search warrant for MOSHE’s Apple I-Phone Pro, cellular telephone number 510-388-
    7026, which had been seized at the time of his 03-30-2020 arrest. In April 2021, the
    FBI Forensic Examination Unit extracted data from this phone, to include text
    messages and information in the phone memory book. I also physically examined the
    contents of the telephone. I noted numerous drug-related text messages in both
    SMS/MMS format as well as through multiple messaging apps to include Signal and
    Telegram. I observed numerous communications between MOSHE and various
    individuals in the time leading up to his arrest in 2020 over this telephone. In these
    discussions, other individuals requested “sheets” from MOSHE in quantities up to
    twenty “sheets.” Based on my training and experience, “sheets” is common slang for
    a 100-dosage unit amount of LSD. MOSHE also discussed having shipped
    approximately 1000 dosage units of LSD to a particular customer in Arizona. It was
    also clear from these various communications stored in the phone that MOSHE was
    actively engaged in operating marijuana cultivation and distribution operations and
    that he was manufacturing Butane Honey Oil (BHO), a form of THC extracted from
    Marijuana utilizing a solvent, most commonly Butane. There were numerous MMS
    text messages in the phone displaying what I know in my training and experience to
    be BHO manufacturing materials, including flasks, evaporators, liquids, etc.

         GPS Phone Locator information appears to show MOSHE residing at rural
         Nevada County Property; MOSHE purchases a new 2019 ACURA MDX,
         CALIFORNIA LICENSE #8HSH975

28. On March 23, 2021, the Honorable Judge Kendall J. Newman also authorized a
    search warrant for GPS location information for MOSHE’s current cellular telephone
    (still using number 510-388-7026), which was implemented the following week by
    Verizon. I examined the locator information for this telephone in April 2021. I noted
    that the range and/or reliability provided by Verizon for the GPS pings showed that
    the locator information was not precise, i.e., it ranged from a circumference of 200
    meters to 2000 meters at any given time. Despite this, I learned that the telephone on
    several occasions was located in the exact proximity of the apartment complex at
    1540 Jackson Street in Oakland, California which was the listed DMV address for
    MOSHE and his girlfriend, Victoria AIVAZACHVILI. This is also the exact same
    location where MOSHE and AIVAZACHVILI’s only registered vehicle at the time,
    the 2019 Honda Ridgeway, California license plate #77828S2, was registered per
    current DMV records.

29. The GPS pings for this telephone showed that despite MOSHE claiming to Placer
    County Probation and Pretrial Services that he was living full time in Oakland, the
    vast majority of the time MOSHE’s telephone was located in a very rural portion of
    Nevada County just north and east of Nevada City, California. At those times, the
    phone locator information had a variance of several thousand meters making it very
    difficult to pin-point an exact location where he was staying. I also noted that when
    the telephone was determined to actually be in the towns of Grass Valley and Nevada

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   City, and when the location information appeared to be much more precise, it was
   regularly located at the site of businesses associated with outdoor growing supply
   businesses, i.e., businesses that supplied growing mediums, growing supplements and
   nutrients, etc., which led me to believe that MOSHE was most likely operating an
   indoor or outdoor marijuana grow at the rural property he appeared to be spending the
   majority of his time.

30. On June 10, 2021, I traveled to the Placer County Justice Center where the Placer
    County Probation Department is located in Roseville, California. I had learned from
    Detective Shemanski that MOSHE had been instructed by the Placer County
    Probation and Pre-Trial Supervision Department to report to that location on that date
    and time to comply with a urine test that was part of MOSHE’s pre-trial release terms
    and agreement ordered by the court. I subsequently observed MOSHE arrive at the
    Justice Center driving an Acura SUV that was clearly marked as a “COURTESY
    VEHICLE” from the Niello Acura Dealership in Roseville, California. I subsequently
    traveled to the Niello Acura Dealership and spoke with a manager at that location. I
    was informed that on June 3, 2021, MOSHE had purchased A WHITE 2019 ACURA
    MDX, CALIFORNIA LICENSE #8HSH975 at the dealership for approximately
    $58,000.00 and that he had traded in his 2019 Honda Ridgeline in addition to
    providing $9000.00 cash. I was provided with paperwork to support this. I was also
    informed that the vehicle was at the dealership having a part installed and that
    MOSHE was due to come back in the courtesy vehicle and retrieve his newly-
    purchased vehicle shortly. I subsequently observed MOSHE arrive back at the
    dealership, return the courtesy vehicle and depart in the A WHITE 2019 ACURA
    MDX, CALIFORNIA LICENSE #8HSH975.

31. I noted that from my training and experience that drug traffickers are often aware of
    the Suspicious Activity Reporting (SAR) requirement that mandates reporting of
    financial transactions above $10,000, and I routinely encounter drug traffickers who
    make round-number transactions (deposits, withdrawals, payments) in $9000.00 cash
    increments. Additionally, I am not aware of any legitimate employment that MOSHE
    currently or previously had which would explain the purchase of a $58,000 vehicle or
    the origin of $9000.00 cash, further leading me to believe that he is continuing to
    traffic in drugs.

   MOSHE, his vehicle, and large-scale marijuana grow observed at a rural multi-
   acre parcel in Nevada County

32. On June 17, 2021, at 5:15 p.m., I observed an individual I believed to be MOSHE
    driving MOSHE’s white 2019 Acura MDX north on Rector Road in a rural area north
    of Nevada City. This is the same general area where the GPS phone locator
    information for MOSHE’s telephone had showed it regularly located in April 2021.
    At this time, I attempted to follow this vehicle as it traveled north on this road but it
    disappeared from my view in the area where Rector Road turns west and splits at the
    intersection of Kuntz Court. I continued on Rector Road and did not observe the
    vehicle. I believe that the vehicle traveled onto Kuntz Court which was why it was no

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   longer visible on Rector Road. I examined the available maps for Kuntz Court and
   observed that this road went north and appeared to transition from a paved road to a
   dirt road and dead-ended in a rural area with no apparent residential structures.

33. I examined the property records for the area where Kuntz Court dead-ended and I
    learned that this area corresponded with three contiguous parcels listed as Nevada
    County Parcels corresponding to APN#034-030-022 (listed as “vacant land,” 13.9
    acres with a corresponding address of 20866 Kuntz Court), APN#034-030-026
    (listed as vacant land, 15.5 acres with a corresponding address of 21345 Kuntz
    Court) and APN#034-030-027 (listed as vacant land, 15.4 acres with a corresponding
    address of 21254 Kuntz Court). Property records indicated that all three parcels were
    listed as owned by the Trustees of the Estate of Robert J Kuntz and Joan M Kuntz,
    and had been for over 20 years. Property records indicated that there were no listed
    residential structures or improvements to these contiguous parcels and that they were
    simply described as rural vacant land. I also noted per multiple database inquiries,
    including Thomas and Reuters CLEAR, nobody had been listed as providing the
    corresponding numerical addresses as residence addresses, i.e., no one on record had
    ever provided 20866, 21345 or 21254 Kuntz Court, Nevada City, California as a
    residential address to any organization, business or facility, further leading me to
    believe these were completely rural properties with no actual fixed residential
    structures and that this location was “vacant land” as listed on the property records.

34. On July 23, 2021, at my request, the California Highway Patrol (CHP) Auburn
    Airwing conducted aerial surveillance of the area at the apparent dead-end of Kuntz
    Court in rural Nevada County corresponding to contiguous Nevada County Parcels
    APN#034-030-022, APN#034-030-026 and APN#034-030-027. During these
    overflights, officers observed and recorded what appears to be an extensive apparent
    outdoor marijuana growing operation on these parcels. They took video and photos of
    this location, which I also viewed. I observed that there was a large cleared area, a
    quite visible deforested, bulldozed and delineated circular field from within the
    heavily forested canopy in the area comprising most of the property. In this area,
    there were what I believe based on my training and experience to be numerous
    marijuana plants, several large water/nutrient tanks near what appeared in my training
    and experience to be pump and irrigation equipment as well as two large
    greenhouses/hoop house structures covered in opaque plastic. These structures were
    open at one end, and I could see from the aerial surveillance what I believe be
    additional marijuana plants. I have commonly encountered these exact same
    structures and items at various seized marijuana growing operations. I also observed
    that just south of this large clearing and along the dirt road leading into the area, there
    were at least two residential campers next to at least one large metal shipping/storage
    container and another adjacent greenhouse/hoop house structure believed to contain
    plants as well. I observed that MOSHE’s white Acura MDX parked in the area by the
    campers, cargo containers, and additional greenhouses.

35. Based upon the foregoing, I believe that MOSHE is currently using his cellular
    telephone 510-388-7026 and his white 2019 Acura MDX, California license

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   8HSH975, to facilitate his ongoing drug trafficking activities. I also believe that he is
   using contiguous Nevada County Parcels APN#034-030-022, APN#034-030-026 and
   APN#034-030-027 as a location to reside and to operate an ongoing marijuana
   cultivation operation and to store evidence of his ongoing LSD and MDMA, as it
   appears per the recent phone locator information and surveillance that he is regularly
   on this property.

Training and Experience Regarding Drug Trafficking and Drug Traffickers

36. As a result of my experience and training, I have learned that traffickers who deal in
    various quantities of controlled substances, or those that assist in that venture,
    maintain and tend to retain accounts or records of those transactions. Such records
    detail amounts outstanding, owed, or expended, along with records tending to indicate
    the identity of co-conspirators. These records may be kept on paper or contained in
    memory calculators or computers. It is also my experience that these traffickers tend
    to keep these accounts and records in their residence and in the areas under their
    control. It is my training and experience, that in the case of drug dealers, evidence is
    likely to be found where the dealers live. It is also my training and experience that
    where criminal activity is long-term or ongoing, equipment and records of the crime
    will be kept for some period of time.

37. Based upon my experience and training, I have learned that drug traffickers often
    place their assets in names other than their own to avoid detection of those assets by
    law enforcement and the Internal Revenue Service (IRS); that those persons are
    commonly family members, friends, and associates who accept title of assets to avoid
    discovery and detection; that traffickers also often place assets in the ownership of
    corporate entities to avoid detection by law enforcement agencies and although these
    assets are in other individual(s) or corporate names, the traffickers continue to use
    these assets and exercise dominion and control over them. Typically traffickers keep
    records of those registrations and transactions in their residence.

38. I have learned that large-scale drug traffickers often have on hand large amounts of
    United States currency in order to maintain and finance their ongoing business. It has
    been my experience that drug traffickers often keep large sums of currency, caches of
    drugs, financial instruments, precious metals, jewelry, automobiles and other items of
    value and/or proceeds of drug transactions, including evidence of financial
    transactions related to obtaining, transferring, secreting or spending large sums of
    money acquired from engaging in the acquisition and distribution of controlled
    substances in their residence or in the areas under their control.

39. In my experience, traffickers commonly have in their possession, that is, on their
    person, at their residence and in the areas under their control, firearms, including but
    not limited to handguns, pistols, revolvers, rifles, shotguns, machine guns and other
    weapons. Such firearms are used by drug violators to protect their illicit drug
    trafficking operations, and themselves against law enforcement and other drug
    violators because the illicit drug trade is an inherently dangerous illegal activity

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    involving large amounts of valuable contraband and drug proceeds. Such property
    may include, but is not limited to, narcotics and other dangerous drugs, jewelry,
    narcotic paraphernalia, books, records, ledgers and quantities of currency.

40. In my experience, traffickers commonly have in their possession, that is on their
    person, at their residences, and their vehicles, and in the areas under their control and
    which they have free and ready access to, drugs, including but not limited to in this
    case, LSD, MDMA and Marijuana, which they intend to distribute. It is my
    experience that these drug traffickers commonly use these areas (vehicles, residences,
    properties, etc.) as locations to conceal their narcotics from law enforcement.

41. In my experience, drug traffickers may take or cause to be taken, photographs or
    videotapes of themselves, their associates, their property, and their product. Such
    traffickers often maintain photographs and/or videotapes at their residence or in the
    areas under their control.

42. In my experience, large scale traffickers often maintain in their possession and at their
    residence fictitious identification, including but not limited to, driver’s licenses,
    employment cards, insurance cards, social security cards, certificates of birth and
    passports which are obtained by the traffickers and utilized in an effort to prevent law
    enforcement identification of the traffickers and their drug trafficking activities.

43. In my experience, drug traffickers often use vehicles in which to transport and
    distribute controlled substances in facilitation of their trafficking activities. It has also
    been my experience that traffickers will also utilize vehicles as locations in which to
    store controlled substances prior to distribution. During prior investigations, I have
    observed that drug traffickers will often utilize vehicles registered in the names of
    individuals other than themselves in an effort to avoid detection by law enforcement.

44. In addition, these traffickers tend to attempt to legitimize their assets by establishing
    domestic and foreign businesses, by creating shell corporations, by using bank haven
    countries and attorneys specializing in drafting and establishing such entities
    employed to “launder” the proceeds derived from the distribution of controlled
    substances.

45. In establishing these entities, the traffickers often must travel to meetings in foreign
    countries as well as domestically. As a result of that travel, records are generated
    reflecting travel by commercial and private aircraft, Commercial Ocean and private
    vessels as well as common carrier(s).

46. Individuals involved in the distribution of LSD, MDMA and Marijuana often make,
    or cause to be made, pictures, videos, movies, compact discs, floppy discs, or other
    such items which are or contain photographic or digital images in order to
    memorialize their LSD, MDMA and Marijuana distribution, use, possession, or any
    other activities surrounding their LSD, MDMA and Marijuana trafficking activities,



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   and that such items often identify co-conspirators in their LSD, MDMA and
   Marijuana trafficking activities.

47. It has been my experience in the past, that when suspects use mobile telephones to
    communicate with cooperating individuals or undercover agents to set up the LSD,
    MDMA and Marijuana deals, records relating to these activities will be found stored
    in the cellular telephone. And, as relevant to this case, the drug traffickers in this case
    have made extensive use of text messaging to communicate about his ongoing drug
    trafficking.

48. I know that narcotics traffickers use mobile telephones to communicate with one
    another, either by voice or text message. Mobile telephones preserve in their memory
    a history of incoming, outgoing, and missed calls, which can lead to evidence of the
    telephone numbers of other narcotics traffickers and the dates and times that they
    and/or the mobile telephone user dialed one another’s telephones. Mobile telephones
    also contain in their memory a telephone book. This allows the user to store
    telephone numbers and other contact information; the information stored in a
    telephone used by a narcotics trafficker is evidence of the associations of the
    narcotics trafficker, some of which are related to his or her illegal business. Mobile
    telephones also contain in their memory text messages sent, received, and drafted by
    the mobile telephone user. The text message history of a narcotics trafficker’s mobile
    telephone can contain evidence of narcotics trafficking because it shows the
    communications or planned communications of a narcotics trafficker and the
    telephone numbers of those with whom the narcotics trafficker communicated or
    intended to communicate. Mobile telephones also have a voicemail function that
    allows callers to leave messages when the telephone user does not answer. Narcotics
    traffickers sometimes leave voice messages for each other and this is evidence both of
    their mutual association and possibly their joint criminal activity. Mobile telephones
    can also contain other user-entered data files such as “to-do” lists, which can provide
    evidence of crime when used by a narcotics trafficker. Mobile telephones can also
    contain photographic data files, which can be evidence of criminal activity when the
    user was a narcotics trafficker who took pictures of evidence of crime. Mobile
    telephone companies also store the data described in this paragraph on their own
    servers and associate the data with particular users’ mobile telephones.

49. As described above and in Attachment A, this Affidavit seeks permission to search
    and seize things that are related to the ongoing LSD, MDMA and Marijuana
    distribution activities by MOSHE, in whatever form such things are stored. Based on
    my knowledge, training, and experience, I know that electronic devices can store
    information for long periods of time. Even when a user deletes information from a
    device, it can sometimes be recovered with forensics tools. Similarly, things that
    have been viewed via the Internet are typically stored for some period of time on the
    device. This information can sometimes be recovered with forensics tools.

50. It is my opinion, based on my training and experience, and the training and
    experience of other law enforcement investigators to whom I have spoken, that the

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   items listed in Attachment B are items most often associated with the distribution of
   controlled substances, including LSD, MDMA, and Marijuana as well as the proceeds
   from such illegal operations.

51. The facts set forth in this Affidavit are known to me as a result of my personal
    participation in this investigation, through conversations with other agents and
    detectives who have participated in this investigation, and from reviewing official
    reports, documents, and other evidence obtained as a result of this investigation. This
    Affidavit is not an exhaustive enumeration of the facts that I have learned during the
    course of this investigation but, instead, are facts that I believe support a finding of
    probable cause to search the requested locations.

52. Based on my experience and training, and after consulting with other law
    enforcement officers experienced in drug investigations, I know that individuals
    involved in drug dealing often maintain at their residences, vehicles, and their persons
    the items described in Attachment B. Individuals involved in drug dealing also often
    maintain paraphernalia for packaging, weighing, cutting, testing, distributing, and
    identifying controlled substances. Therefore, I am requesting authority to seize all the
    items listed in Attachment B to this Affidavit and incorporated here by reference.

                                        Conclusion

53. The facts set forth in this Affidavit demonstrate probable cause to believe that the
    locations listed in Attachment A to this Affidavit contain evidence of Elan Efraim
    MOSHE’s and his co-conspirators’s ongoing efforts to distribute and possess with
    intent to distribute LSD, MDMA and Marijuana in violation of 21 U.S.C. §§ 846
    and 841(a)(1).

54. I therefore respectfully request authority to search:

           A. The person of Elan Efraim MOSHE;

           B. A green IPhone 11 Pro Max with call number (510)388-7026;

           C. The white 2019 ACURA MDX, CALIFORNIA LICENSE #8HSH975;

           D. Nevada County Parcels corresponding to APN#034-030-022 (13.9 acres),
              APN#034-030-026 (15.5 acres) and APN#034-030-027 (15.4 acres), and
              all structures on those properties.

55. I further request that based upon this Affidavit, a Criminal Complaint and arrest
    warrant be issued for Elan Efraim MOSHE, charging him with distribution and
    possession with intent to distribute LSD, a Schedule I Controlled Substance, in
    violation of 21 U.S.C. § 841(a)(1).



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56. Finally, I respectfully request that this Court issue an order sealing, until further order
    of the Court, all papers submitted in support of this application, including the
    application, search warrant, arrest warrant, and Criminal Complaint. I believe that
    sealing these documents is necessary because the items and information to be seized
    are relevant to an ongoing investigation into criminal activities by the defendant and
    his coconspirators. Based upon my training and experience, I have learned that
    criminals actively search for criminal affidavits and search warrants over the internet,
    and disseminate them to other criminals as they deem appropriate, i.e., post them
    publicly online. Premature disclosure of the contents of this affidavit and related
    documents may have a significant and negative impact on the continuing
    investigation and may severely jeopardize its effectiveness, as well as endanger the
    safety of agents serving the warrant requested.

   I swear under penalty of perjury, that the foregoing information is true and correct to the best
   of my knowledge, information and belief.



     /s/
   ____________________________
   Brian Nehring, Special Agent
   Drug Enforcement Administration

                                                            25th day of June 2021
   Sworn to and subscribed before me telephonically on the ______



   ____________________________________
   CAROLYN K. DELANEY
   United States Magistrate Judge

   Approved as to form:




   Cameron L. Desmond
   Assistant U.S. Attorney




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                                     Attachment A
                                Locations to be Searched

A.      The person of Elan Efraim MOSHE;

B.      A green IPhone 11 Pro Max with call number (510)388-7026;

C.      The white 2019 ACURA MDX, CALIFORNIA LICENSE #8HSH975; and

D.       Nevada County Parcels corresponding to APN#034-030-022 (13.9 acres),
     APN#034-030-026 (15.5 acres) and APN#034-030-027 (15.4 acres), located at the
     end of Kuntz Court in rural Nevada County, to include any and all campers, cargo
     containers, grow houses, sheds, and other structures on the property. Screenshots of
     the overflight of the properties are pictured below.




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                                       Attachment B
                                     Items to be Seized

Agents are authorized to search and seize property that constitutes evidence, fruits, and
instrumentalities of violations of the following federal statutes (the “Target Offenses”),
committed by MOSHE and his co-conspirators:

       -       Title 21 U.S.C. Sections 846 and 841(a)(1) – Conspiracy to Distribute and
               Possess with Intent to Distribute LSD, MDMA and Marijuana

       -       Title 21 U.S.C. Section 841(a)(1) – Distribution and Possession with
               Intent to Distribute LSD, MDMA and Marijuana
        .
As further described in the Affidavit, the specific evidence, fruits, and instrumentalities
of the Target Offenses for which agents may search includes:

1.     Controlled substances, including LSD, MDMA and Marijuana, or items
       frequently used to distribute LSD, MDMA and Marijuana, or items containing
       residue from the distribution of LSD, MDMA and Marijuana; drug-trafficking
       paraphernalia, including scales, measuring devices, and weighing devices;
       narcotics diluting or cutting agents; narcotics packaging materials, including
       plastic, tin foil, cellophane, jars, plastic bags, and containers; and plastic surgical
       gloves;

2.     United States and foreign currency linked to drug trafficking and/or the proceeds
       of drug trafficking, including the pre-recorded U.S. currency used to purchase
       LSD, MDMA and Marijuana, from MOSHE during in this investigation;

3.     Narcotics or money ledgers, narcotics distribution or customer lists, narcotics
       supplier lists, correspondence, notations, logs, receipts, journals, books, pay and
       owe sheets, records and other documents noting the price, quantity, date and/or
       times when narcotics were purchased, possessed, transferred, distributed, sold or
       concealed;

4.     Telephone paging devices, beepers, mobile phones, car phones, answering
       machines and tapes, and other communication devices which could be used to
       participate in a conspiracy to distribute controlled substances in violation of 21
       U.S.C. § 841(a)(1);

5.     Bank account records, wire transfer records, bank statements, safety deposit keys
       and records, money wrappers, money containers, income tax returns, evidence of
       financial transfer, or movement of money generated from the sale of narcotics;

6.     Personal telephone books, address books and other such address listings, letters,
       cables, telegrams, telephone bills, photographs, audio and video tapes connected
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       to drug trafficking, personal notes and other items reflecting names, addresses,
       telephone numbers, communications, and illegal activities of associates in drug
       trafficking activities;

7.     Financial instruments purchased with large amounts of currency derived from the
       sale of controlled substances, including travelers checks, bonds, stock certificates,
       cashier’s checks and certificates of deposit; money counting machines, money
       wrappers and bags used to carry controlled substances;

8.     Records, documents and deeds reflecting the purchase or lease of real estate,
       vehicles, precious metals, jewelry, or other items obtained with the proceeds from
       the sale of controlled substances;

9.     Records, items, and documents reflecting travel, including airline tickets, credit
       card receipts, travel vouchers, hotel and restaurant receipts, canceled checks,
       maps and written directions to location;

10.    Handguns, shotguns, rifles, explosives, and other firearms/incendiary devices and
       ammunition that may be used to facilitate the distribution or possession of, with
       the intent to distribute controlled substances or discovered in the possession of a
       prohibited person, including MOSHE;

11.    Indicia of occupancy, residency, control or ownership of the premises and things
       described in this warrant, including utility bills, telephone bills, loan payment
       receipts, rent documents, canceled envelopes and keys, photographs, and bank
       records; and

12.    All names, words, telephone numbers, email addresses, time/date information,
       messages or other electronic data in the memory of the mobile telephone or on a
       server and associated with mobile telephones that are associated with MOSHE
       during execution of the warrant. This authority to search such mobile telephones
       includes the following within each mobile telephone:

       A.     Incoming call history;
       B.     Outgoing call history;
       C.     Missed call history;
       D.     Outgoing text messages;
       E.     Incoming text messages;
       F.     Draft text messages;
       G.     Telephone book;
       H.     Data screen or file identifying the telephone number associated with the
              mobile telephone searched;
       I.     Data screen, file, or writing containing serial numbers or other information
              to identify the mobile telephone searched;
       J.     Voicemail;
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      K.     User-entered messages (such as to-do lists);
      L.     Photographs; and
      M.     Any passwords used to access the electronic data described above.

13. Marijuana plant samples to be documented, photographed and taken; bulk plant
material to be disposed of per this order
